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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 DONALD J. TRUMP FOR                                  Civil Action
 PRESIDENT, INC.; et al.,

                Plaintiffs,
                                                      No. 2:20-CV-00966
        v.

 KATHY BOOCKVAR; et al.,

                Defendants.                           Judge J. Nicholas Ranjan


             MOTION FOR ADMISSION PRO HAC VICE OF MYRNA PÉREZ

       Myrna Pérez, undersigned counsel for Proposed Defendant-Intervenors Citizens for

Pennsylvania’s Future and the Sierra Club, hereby moves that she be admitted to appear and

practice in this Court in the above-captioned matter as counsel pro hac vice for Proposed

Defendant-Intervenors Citizens for Pennsylvania’s Future and the Sierra Club pursuant to

LCvR 83.2(B).

       In support of this motion, undersigned counsel attaches the Affidavit for Admission Pro

Hac Vice of Myrna Pérez filed herewith, which, it is averred, satisfies the requirements of the

foregoing Local Rules and Standing Order.

Dated: July 22, 2020                           Respectfully submitted,

                                               /s/ Myrna Pérez
                                               Myrna Pérez (N.Y. Bar No. 4874095)
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                                               Counsel for Proposed Defendant-
                                               Intervenors Citizens for Pennsylvania’s
                                               Future and the Sierra Club
